
YARRUT, Judge.
This suit on a promissory note was instituted by the payee-holder against the maker and endorsers. Defendants have prosecuted this appeal from a summary judgment in favor of the Plaintiff.
Appellants did not make an appearance when the case was regularly called for argument, nor have they filed a brief herein. The Appellee alone appeared, submitted the case and moved that the judgment be affirmed.
Since Appellants have not pointed out any error in the judgment of the Trial Court, and as there is no error patent on the face of the record, we must affirm that judgment under the presumption it is correct. See Alice v. Woods, La.App., 124 So.2d 770.
The judgment appealed from is affirmed.
Affirmed.
